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AFFIDAVIT
I, David Frehulfer, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

li I am a Special Agent employed by the United States Department of Justice,
Federal Bureau of Investigation (FBI), and as such J am an “investigative or law enforcement
officer” of the United States who is empowered by law to conduct investigations and to make
arrests for offenses enumerated in Title 18, United States Code, Chapter 63. I have been a
Special Agent with the FBI since May of 2016. I am currently assigned to the FBI’s Albany
Division where I investigate all federal criminal violations. I have participated in multiple
investigations of persons suspected of violating federal child pornography laws, including Title
18, United States Code, Sections 2251, 2252 and 2252A. I have received training in the area of
child sexual exploitation and as part of my duties, have observed and reviewed numerous
examples of child pornography in all forms of media including computer media.

PURPOSE

2. I make this Affidavit in support of a complaint charging PAUL EMERSON with
knowing possession on or about October 25-27, 2021 of one or more matters which contain
visual depictions that had been transported in interstate commerce and such depictions involve
the use of a minor engaged in sexually explicit conduct in violation of 18 U.S.C. § 2252(a)(4).

3. The facts in this affidavit come from my personal observations, my training and
experience, and information obtained from other agents and witnesses. The information
contained in this affidavit is based upon my training, experience, investigation, and consultation

with other members of law enforcement. Because this affidavit is being submitted for the limited
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purpose of supporting a criminal complaint, I have not included each and every fact known to me
concerning this investigation. I have set forth only those facts which I believe are necessary to
establish probable cause for the alleged offense. Where I have reported statements by others or
from documents that I have reviewed, those statements are reported in substance and in part,
unless otherwise indicated.

PROBABLE CAUSE
4, My affidavit of December 16, 2021 in support of a search warrant for 901 Seyon

Pond Road, Groton, VT, is attached as Exhibit 1 and incorporated herein.
5. On December 16, 2021, I interviewed PAUL EMERSON upon his return to the
901 Seyon Pond Road residence. During the course of the interview, which I recorded,
EMERSON made the following pertinent statements:
a. EMERSON used Kik to receive child pornographic images for approximately six
months.
b. During the same time period, EMERSON also used Kik to send child
pomographic images to other members of the Kik groups to which he belonged.
c. The images of child pornography contained children as young as six years of age.
6. Additionally, I showed EMERSON screenshots of the Kik correspondence
between user account, “davedoe277420”, and an undercover employee of the FBI between
October 25, 2021 and October 27, 2021. EMERSON confirmed that the “davedoe277420”
username was his own. EMERSON was asked if he remembered the conversation with the FBI
OCE, and he replied that he did. EMERSON was shown a partially redacted screenshot of a

video embedded in the same conversation, which was sent by his Kik user account to the FBI
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OCE. EMERSON responded that he believed the girl to be approximately six years of age and
remembered sending the video, which depicts the following:

a. A pre-pubescent female performs oral sex on an adult male in a bathtub.

b. I have reviewed the video in full, which is approximately 9 seconds long. Based
on a lack of pubic hair, breast development, and familiarity with known victims of
child pornography production, it is my opinion that the female in the video
described above was between 3 and 6 years of age.

ae Also on December 16, 2021, I was part of a team of law enforcement officers who
executed the search warrant at 901 Seyon Pond Road, Groton, VT. During the course of the
search, I seize numerous electronic devices, for which forensic examination is pending.

CONCLUSION

8. Based on the information above and in Exhibit 1, I submit sai this affidavit
supports probable cause for issuance of a complaint charging PAUL EMERSON with knowing
possession on or about October 25-27, 2021 of one or more matters which contain visual
depictions that had been transported in interstate commerce and such depictions involve the use
of a minor engaged in sexually explicit conduct in violation of 18 U.S.C. § 2252(a)(4).

Dated at Burlington, in the District of Vermont, this 17 day of December 2021.

David Frehulfer
Special Agent, FBI

Sworn to and subscribed before me this Ze day of December 2021.

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Hon. Kevin J. Doyle
United States Magistrate wide
